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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


MAIRA MONTELONGO,

              Plaintiff,

v.                                                           No. SA-19-CV-00577-JKP

MY   FINANCIAL SOLUTIONS
LLC, STUDENT RENEW LLC,
ANGELA MIRABELLA, AND NICK
CAPOSIO,

              Defendants.

                                  ORDER OF DISMISSAL

       The Court has under consideration the parties’ Stipulated Motion for Dismissal with

Prejudice (ECF No. 80) in which the parties request that the Court dismiss this lawsuit with

prejudice. It GRANTS the request and dismisses this action with prejudice. It is hereby

ORDERED, ADJUDGED and DECREED that all claims and causes of action filed by

Plaintiff Maira Montelongo against Defendants My Financial Solutions LLC, Student Renew

LLC, Angela Mirabella, and Nick Caposio in this lawsuit are dismissed with prejudice. The

Court directs the Clerk of Court to close this case.

       SIGNED this 8th day of May 2020.



                                            JASON PULLIAM
                                            UNITED STATES DISTRICT JUDGE
